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  13    [Additional Counsel on Signature Page]

  14
                            UNITED STATES DISTRICT COURT
  15
                          CENTRAL DISTRICT OF CALIFORNIA
  16
  17   MICHELLE STERIOFF, individually           Case No. 2:22-cv-09230-ODW-AS
  18   and on behalf of all others similarly
       situated,
  19                                             JOINT STIPULATION
                           Plaintiff,            REGARDING HEARING ON
  20                                             DEFENDANTS’ MOTION TO
       v.                                        COMPEL ARBITRATION
  21
       LIVE NATION ENTERTAINMENT,                [Civil Local Rule 7-1]
  22   INC., and TICKETMASTER, LLC,
  23                                             Assigned to: Honorable George H. Wu
                           Defendants.
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                                                  JOINT STIPULATION REGARDING HEARING ON
                                                            MOTION TO COMPEL ABRITRATION
                                                               CASE NO. 2:22-cv-09230-ODW-AS
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   1         Defendants Ticketmaster L.L.C. and Live Nation Entertainment, Inc.
   2 (together, “Defendants”) and Plaintiff Michelle Sterioff hereby stipulate and agree,
   3 through their undersigned counsel and pursuant to Local Rule 7-1, to the following
   4 schedule, subject to the approval of the Court. In support of this joint stipulation,
   5 the parties state as follows:
   6         1.    Plaintiff filed the Complaint on December 20, 2022. ECF No. 1.
   7         2.    On January 3, 2023, pursuant to Local Rule 8-3, the parties filed a joint
   8 stipulation that extended Defendants’ time to answer or otherwise respond to the
   9 Complaint from January 11, 2023 to February 10, 2023. ECF No. 19.
  10         3.    On January 30, 2023, the parties filed a joint stipulation setting a
  11 briefing schedule for Defendants’ motion to compel arbitration and the timing of any
  12 arbitration-related discovery requests. ECF No. 24 (“Joint Stipulation”). Among
  13 other things, the stipulation provided that: Defendants would file their motion on or
  14 before February 24, 2023, Plaintiff would have until March 21, 2023 to serve any
  15 arbitration-related discovery, and Plaintiff’s Opposition and Defendants’ Reply
  16 would be dependent on the date of completion of any such discovery. ECF No. 24.
  17         4.    On January 31, 2023, the Court issued an Order granting the Joint
  18 Stipulation. The Order entered the parties’ briefing schedule and provided that
  19 “[a]ny hearing on Defendants’ motion to compel arbitration shall be held as the
  20 Court’s calendar allows.” ECF No. 25.
  21         5.    On February 24, 2023, Defendants filed their motion to compel
  22 arbitration. Because the hearing date cannot be determined until any arbitration-
  23 related discovery is complete, Defendants provided in their motion that the hearing
  24 date is “TBD.” ECF No. 26.
  25         6.    On February 27, 2023, the Court issued an Order setting a hearing on
  26 Defendant’s motion to compel arbitration for March 27, 2023. ECF No. 27.
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                                                     JOINT STIPULATION REGARDING HEARING ON
                                                 1             MOTION TO COMPEL ABRITRATION
                                                                  CASE NO. 2:22-cv-09230-ODW-AS
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   1         7.    Consistent with the parties’ prior Joint Stipulation (ECF No. 24), the
   2 parties hereby stipulate and agree that the March 27, 2023 hearing date should be
   3 vacated until any arbitration-related discovery is complete, at which time the parties
   4 will propose a hearing date for Defendants’ motion.
   5         The parties therefore agree and stipulate to the above schedule.
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   7                             [Signatures on following page]
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                                                     JOINT STIPULATION REGARDING HEARING ON
                                                 2             MOTION TO COMPEL ABRITRATION
                                                                  CASE NO. 2:22-cv-09230-ODW-AS
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   1 Dated: March 2, 2023                    Respectfully Submitted,
   2
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   3
                                        By: /s/ Lisa T. Omoto
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  15 Dated: March 2, 2023                    LATHAM & WATKINS LLP
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  22                                         Inc.
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                                                 JOINT STIPULATION REGARDING HEARING ON
                                             3             MOTION TO COMPEL ABRITRATION
                                                              CASE NO. 2:22-cv-09230-ODW-AS
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   1                                    ATTESTATION
   2         I am the ECF user whose identification and password are being used to file
   3 the foregoing Joint Stipulation Setting Briefing Schedule. Pursuant to Civil Local
   4 Rule 5-4.3.4(a)(2)(i), I, Lisa T. Omoto attest that all other signatories listed, and on
   5 whose behalf the filing is submitted, concur in this filing’s content and have
   6 authorized such filing.
   7
   8 Dated: March 2, 2023                                     /s/ Lisa T. Omoto
                                                                Lisa T. Omoto
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                                                      JOINT STIPULATION REGARDING HEARING ON
                                                  4             MOTION TO COMPEL ABRITRATION
                                                                   CASE NO. 2:22-cv-09230-ODW-AS
